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                                                                                              10/25/2024
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                                                Danielle Gutierrez, Jane Doe 1,
15                                              and Jane Doe 2
16

17                              UNITED STATES DISTRICT COURT
18                                  DISTRICT OF NEVADA
19
     SAGE HUMPHRIES, GINA MENICHINO,
20   ROSEMARIE DeANGELO, DANIELLE                 Case No.: 2:21-cv-01412-ART-EJY
     GUTIERREZ, JANE DOE 1,
21   and JANE DOE 2,
                                                  JOINT STIPULATION TO MODIFY
22                Plaintiffs,                     THE PROTECTIVE ORDER AND
                                                  [PROPOSED] ORDER
23         vs.
24   MITCHELL TAYLOR BUTTON and
     DUSTY BUTTON,
25
                  Defendants.
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                 JOINT STIPULATION TO MODIFY THE PROTECTIVE ORDER
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 1          Pursuant to the Court’s Order at ECF No. 412, the Parties seek to modify the Protective
 2   Orders, (ECF Nos. 51, 166), solely to allow Defendants to transmit Plaintiffs’ deposition
 3   transcripts to law enforcement subject to the following conditions:
 4      1. Defendants must copy Plaintiffs’ counsel on correspondence to law enforcement
 5
            transmitting the transcripts;
 6
        2. Defendants must transmit true and correct copies of all six Plaintiffs’ deposition
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            transcripts in their entirety, rather than select transcripts or excerpts.
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10          IT IS SO ORDERED.
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            ____________________________________
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            DATED: ___________________________
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                 JOINT STIPULATION TO MODIFY THE PROTECTIVE ORDER
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     Date: October 25, 2024
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 3                                               Respectfully Submitted,

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 7    PRO SE DEFENDANTS                             BOIES SCHILLER FLEXNER LLP

 8
      /s/                                           /s/     Lindsey Ruff
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22                                                  and Jane Doe 2

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                 JOINT STIPULATION TO MODIFY THE PROTECTIVE ORDER
